                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DIVISION
                                       21-cv-37

 AARON THOMAS GRAHAM,

                    Plaintiff,

 v.
                                                      NOTICE OF REMOVAL
 FAMILY DOLLAR STORES OF NORTH
 CAROLINA, INC.,

                   Defendant.



         DEFENDANT FAMILY DOLLAR STORES OF NORTH CAROLINA, INC., by

and through counsel give notice to the Court of removal of the above action from

Cumberland County, North Carolina, (“State Court”) to the United States District Court

for the Eastern District of North Carolina pursuant to 28 U.S.C. §§ 1332(a), 1441, and

1446. As set forth below, this Court has original diversity jurisdiction over this action

pursuant to 28 U.S.C. § 1332. All requirements for removal of this action are met through

the allegations contained in the pleadings filed in the State Court and in this Notice for

Removal. In support of this Notice for Removal, Family Dollar states as follows:


      1. There is a pending action in Cumberland County Superior Court and the action is

styled Aaron Thomas Graham v. Family Dollar Stores of North Carolina, Inc., NC Civil

Action number: 20-CVS-6976(“State Court Action”). The Complaint in the State Court

Action was filed on or about December 24, 2020. The summons was issued the same day.




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   2. A true and accurate copy of the Summons and Complaint in the State Court Action is

incorporated by reference as if fully set forth herein as Exhibit A.

   3. This Notice of Removal is filed within twenty-one (21) days upon which Family

Dollar Stores of North Carolina, Inc., first received a copy of the Summons and Complaint

and is therefore timely pursuant to the provisions of 28 U.S.C. § 1446.

   4. The State Court Action is properly removed under 28 U.S.C. § 1441(a), because the

State Court Action is subject to the original jurisdiction of this Court pursuant to 28 U.S.C.

§ 1332, as explained below.

   5. Family Dollar Stores of North Carolina, Inc., is informed and believes that Plaintiff

is a citizen and resident of Cumberland County, North Carolina. (See Ex. A.)

   6. Defendant Family Dollar Stores of North Carolina, Inc., is a company incorporated

under the laws of the State of Virginia with its principal place of business in Chesapeake,

Virginia.

   7. Plaintiff’s Complaint contains ad dammon clauses for his claims. Those allegations

indicate that the amount of damages for his claims are in excess of $25,000.00.

   8. Upon information and belief, Plaintiff has alleged serious, painful and permanent

injuries requiring care and surgery as pain and suffering and indicating that his injuries entitle

him to punitive and compensatory damages.

   9. Furthermore, Plaintiff’s complaint alleges gross disfigurement of Plaintiff’s body and

that Plaintiff has experienced and will experience embarrassment and humiliation for the

remainder of his life and alleges entitlement to damages as a result.




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    10. Moreover, Plaintiff alleges that he has experienced and will continue to experience for

the remainder of his life emotional stress and strife and has been adversely affected with

emotional problems requiring professional care and Plaintiff alleges entitlement to damages

as a result.

    11. From information contained in the Complaint and from Plaintiff, upon information

and belief, the Plaintiff is seeking damages from Family Dollar Stores of North Carolina, Inc.,

in excess of $75,000.00.

    12. This action is properly removed on grounds of diversity jurisdiction because complete

diversity of citizenship exists between Plaintiff and Family Dollar Stores of North Carolina,

Inc., and the amount in controversy exceeds the jurisdictional threshold.


    13. Written notice of the filing of this Notice of Removal will promptly be given to

Plaintiff and Clerk of Superior Court of Durham County, North Carolina pursuant to 28

U.S.C. § 1446(d).

    WHEREFORE, DEFENDANT FAMILY DOLLAR STORES OF NORTH

CAROLINA, INC. respectfully requests that this case proceed before this Court as a civil

action properly removed.




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This 26 day of January, 2021

                                  BY:   S/ S. MARK HENKLE
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                            CERTIFICATE OF SERVICE
      This is to certify that I have this day served the opposing party or counsel for the
   opposing party in the foregoing matter with a copy of Notice of Removal by depositing
   a copy of same in the United States Mail, postage prepaid, as follows:
                 Brenton D. Adams, Esq.
                 Brent Adams & Associates
                 P.O. 1389
                 Dunn, NC 28335
                 Attorney for Plaintiff




This 26th day of January, 2021.


                                  BY:    _/S/ S. MARK HENKLE___________
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                                         jflynn@GM-LLP.com
                                         Mark Henkle
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